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 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
           TP ICAP AMERICAS HOLDINGS,
           INC.,
 8
                                  Plaintiff,
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                                                            C21-0539 TSZ
               v.
10
                                                            ORDER
           ICAP ENTERPRISES, INC.; and
11         HAFEN, LLC,
12                                Defendant.

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           Counsel, having advised the Court that this matter has been resolved, Dkts. 109,
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     114, and it appearing that no issue remains for the Court’s determination,
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           (1) NOW, THEREFORE, IT IS ORDERED that this case is DISMISSED with
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                 prejudice and without costs.
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           (2) In the event settlement is not perfected, either party may move to reopen and
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                 trial will be scheduled, provided such motion is filed within 90 days of the date
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                 of this Order.
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           The Clerk is directed to CLOSE this case and to send a copy of this Order to all
21
     counsel of record.
22

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     ORDER - 1
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 1         IT IS SO ORDERED.

 2         Dated this 3rd day of October, 2022.

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 4
                                                  A
                                                  Thomas S. Zilly
                                                  United States District Judge
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     ORDER - 2
